Case 2:22-cv-00377-BLW Document 29-3 Filed 06/12/23 Page 1 of 6




                Exhibit B
        Case 2:22-cv-00377-BLW Document 29-3 Filed 06/12/23 Page 2 of 6




                           DECLARATION OF JOSEPH SWINDAL
                               Pursuant to 28 U.S.C. § 1746

       I, Joseph Swindal, hereby state that I have personal knowledge of the facts set forth

below and, if called to testify, I could and would testify as follows:

1.     I am an Honors Paralegal at the Federal Trade Commission (“FTC”) and am over the age

of 18. As an Honors Paralegal, my job functions include providing litigation and investigation

support to Bureau of Consumer Protection attorneys and other staff involved in the litigation of

FTC cases. Among other things, my job involves the gathering of information, analysis of

electronic discovery, organization of case materials, and writing of declarations. As an Honors

Paralegal, I regularly use Internet browsers, Internet search engines, and other software-based

investigative and organizational tools, which I understand is typical for this position at the FTC.

2.     As an Honors Paralegal, I work on several FTC matters. In June 2023, I was assigned to

the litigation, FTC v. Kochava Inc., 2:22-cv-00377-BLW (D. Idaho).

3.     As part of this assignment, I used the software programs “Snagit” and “WebPreserver” to

capture the contents of various web pages.

4.     On June 6, 2023, I visited and captured the webpage: https://www.kochava.com/custom-

audience-building-made-easy/. Attached hereto as Attachment A is a true and correct copy of

this webpage capture.



I declare under penalty of perjury that the foregoing is true and correct.



Executed on June 12, 2023.                            /s Joseph Swindal
                                                      Joseph Swindal




                                                  1
Case 2:22-cv-00377-BLW Document 29-3 Filed 06/12/23 Page 3 of 6




           Attachment
                A
Case 2:22-cv-00377-BLW Document 29-3 Filed 06/12/23 Page 4 of 6
Case 2:22-cv-00377-BLW Document 29-3 Filed 06/12/23 Page 5 of 6
Case 2:22-cv-00377-BLW Document 29-3 Filed 06/12/23 Page 6 of 6
